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 5
     Attorney for Defendant
 6   KEIT TRAN
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. Cr S 10-042 MCE
                                     )
12                  Plaintiff,       )
                                     )        STIPULATION AND ORDER TO MODIFY
13        v.                         )        CONDITIONS OF RELEASE PURSUANT TO
                                     )        18 U.S.C. § 3145(A0; ORDER
14   KEIT TRAN,                      )
                                     )
15                  Defendant.       )
                                     )        Judge: Hon. Edmund F. Brennan
16   _______________________________ )
17
18          Keith Tran was released on February 5, 2010 under strict
19   conditions of release.      At that time he was placed on “Home
20   Incarceration”.     In May of 2010, those conditions were modified
21   somewhat to allow him to spend additional time with his son on the
22   weekend.    At this time the parties, with the full agreement of pretrial
23   services, are requesting that special condition 12 be modified and that
24   the condition that he continue on Home Detention be replaced with a
25   Curfew condition that will be monitored by pretrial services.            All
26   other conditions are to remain the same.          Attached is the new Amended
27   Conditions as written by the pretrial services officer.
28   ////
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 1        This change is requested in order that he might seek employment
 2   and spend more time with his son.         The parties feel that it is
 3   appropriate at this time since there have been no problems during his
 4   supervision.
 5   Dated:     June 20, 2011
                                                  Respectfully submitted,
 6
                                                  DANIEL J. BRODERICK
 7                                                Federal Defender
 8
                                                  /s/ Linda C. Harter
 9                                                LINDA C. HARTER
                                                  Chief Assistant Federal Defender
10                                                Attorney for Defendant
                                                  KEIT TRAN
11
12
                                                  BENJAMIN B. WAGNER
13                                                United States Attorney
14
                                                  /s/ Linda C. Harter for
15                                                Jason S. Hitt
                                                  Assistant United States Attorney
16
17                                        ORDER
18        Good cause appearing and for the reasons stated in the stipulation
19   of the parties, the conditions of Mr. Keith Tran’s release are hereby
20   modified pursuant to 18 U.S.C. § 3145(a).           The new conditions of
21   release are those set forth in the Amended Release Conditions attached
22   to the parties stipulation.
23   Dated: June 24, 2011
24
25
26
27
28


     Stipulation to Modify Release Conditions -2-
